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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION

                       CASE NO. 20-22485-CIV-COOKE/GOODMAN



   STEVEN J. TYMAN,

          Plaintiff,

   v.

   FORD MOTOR COMPANY,

         Defendant.
   __________________________/

               REPORT AND RECOMMENDATIONS ON [ECF NO. 25]
           DEFENDANT FORD MOTOR COMPANY’S MOTION TO COMPEL
                   ARBITRATION AND STAY PROCEEDINGS

          Plaintiff Steven J. Tyman (“Plaintiff”) filed a class action lawsuit against Defendant

   Ford Motor Co. (“Ford”), alleging various counts, including violation of Florida’s

   Deceptive and Unfair Trade Practices Act, fraudulent concealment, negligence, and

   negligent misrepresentation, all stemming from Defendant’s alleged failure to perform

   required Field Service Actions (“FSAs”) on his vehicle. In its motion to compel arbitration

   and stay proceedings [ECF No. 25], Ford requests an order compelling Plaintiff to submit

   to binding arbitration all of his claims against Ford. It also requests that the Court stay

   proceedings in this lawsuit pending the completion of the arbitration.




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          Plaintiff filed an opposition in response to Ford’s motion and Ford filed a reply in

   support of its motion. [ECF Nos. 29; 35]. United States District Court Judge Marcia G.

   Cooke referred the motion to the Undersigned for a Report and Recommendations. [ECF

   No. 48].

          For the reasons outlined below, the Undersigned respectfully recommends that

   Judge Cooke grant Ford’s motion to compel arbitration, which, if adopted, would result

   in a stay of the instant case.

   I.     Factual and Procedural Background

          On October 20, 2019, Plaintiff leased a new 2020 model year Ford Explorer from

   Lorenzo Ford (the “Dealer”), an authorized Ford dealership in Homestead, Florida. [ECF

   No. 1, ¶ 34]. As part of that lease transaction, Plaintiff entered into two contracts with the

   Dealer in which Plaintiff agreed broadly to arbitrate all disputes arising from or relating

   to, among other things, the purchase or condition of his vehicle. Plaintiff executed (1) the

   Retail Lease Order and (2) the Florida Motor Vehicle Lease Agreement (“MVLA”)

   (collectively the “Agreements”). [ECF No. 18-1]. The Retail Lease Order consummates the

   Plaintiff’s agreement to lease the vehicle, and the MVLA concerns the financing of that

   lease. Both the Agreements contain arbitration provisions.

          a. Alleged misrepresentations by the Dealer

          In his complaint, Plaintiff details his interpretation of Ford’s instructions to all

   dealers to perform FSAs. [ECF No 1, ¶¶ 17-19, 21, 22]. Plaintiff alleges that Ford offers a



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   172-point inspection that “requires dealers” to address “open FSAs” and executes

   agreements under which dealers “must perform” FSAs. Id. Plaintiff alleges that the

   Dealer represented that it had followed these instructions by requesting and receiving

   warranty reimbursement from Ford for the FSAs that the complaint alleges were not

   performed. See id. at ¶¶ 26, 27, 52, 54.

          Plaintiff alleges that the Dealer represented that it had performed certain FSAs on

   Plaintiff’s vehicle, when it supposedly had not. Id. at ¶¶ 35-37. Plaintiff further alleges

   that the Dealer intentionally and/or negligently misrepresented to him that it had

   performed certain FSAs before leasing him the vehicle. Id. at ¶¶ 2, 3, 35, 37, 53-55.

          The Dealer was originally named as a party Defendant to this class action

   complaint. Nevertheless, the Dealer was dropped as a Defendant on August 4, 2020 when

   Plaintiff filed a Notice of Voluntary Dismissal without Prejudice of Only Defendant,

   Lorenzo Enterprises Corp. [ECF No. 21]. With the Dealer dropped from the case, Plaintiff

   seeks to hold Ford liable on the theory that it allegedly knew, yet failed to tell Plaintiff,

   that some dealers had not performed certain FSAs. See id. ¶¶ 4, 5, 60, 61.

   II.    Legal Standard

          The Federal Arbitration Act (“FAA”) governs the validity of an arbitration

   agreement. Walthour v. Chipio Windshield Repair, LLC, 745 F.3d 1326, 1329 (11th Cir. 2014)

   (citation omitted). The FAA “embodies a liberal federal policy favoring arbitration

   agreements.” Id. (internal quotations omitted). The FAA provides that a written



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   agreement to arbitrate is “valid, irrevocable, and enforceable, save upon such grounds as

   exist at law or in equity for the revocation of any contract.” Id. (internal quotations and

   citations omitted).

          The party seeking to avoid arbitration bears the burden of establishing that the

   agreement in question should not be enforced. See Green Tree Fin. Corp.-Alabama v.

   Randolph, 531 U.S. 79, 91-92 (2000).

   III.   Analysis

          a. Ford’s arguments in favor of arbitration

          In its motion to compel arbitration and stay the proceedings, Ford argues that the

   Agreements executed by Plaintiff include arbitration provisions. [ECF No. 25, pp. 2-4].

   Both Agreements signed by Plaintiff expressly provide for the arbitration of any disputes

   with the affiliates of the company that financed Plaintiff’s lease, and Ford argues that it

   is an affiliate. The MVLA contract advises Plaintiff to “READ THIS ARBITRATION

   PROVISION CAREFULLY AND IN ITS ENTIRETY[.]” [ECF Nos. 18-1, p. 11; 25, p. 3

   (emphasis in original)]. “Either you or Lessor/Finance Company/Holder (‘us’ or ‘we’)

   (each, a ‘Party’) may choose at any time, including after a lawsuit is filed, to have any

   Claim related to this contract decided by arbitration.” Id.

          The MVLA provides for the arbitration of disputes with, among others, “affiliates”

   of the Finance Company, such as Ford Motor Credit Company (“Ford Credit”). [ECF Nos.

   18-1, pp. 5, 11; 25, p. 3]. Ford argues that Ford Credit is an indirect, wholly owned



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   subsidiary of Defendant Ford Motor Company. [ECF No. 25-1, ¶ 4 (Decl. of C.

   MacGillivray)].

          Similarly, the Retail Lease Order also includes an arbitration provision. In bold, all

   capital letters, it advises that an “ARBITRATION PROVISION” followed and to

   “PLEASE REVIEW – IMPORTANT – AFFECTS YOUR LEGAL RIGHTS[.]” [ECF Nos.

   18-1, p. 18; 25, p. 4 (emphasis in original)]. “EITHER YOU OR WE MAY CHOOSE TO

   HAVE ANY DISPUTE BETWEEN US DECIDED BY ARBITRATION AND NOT IN

   COURT OR BY JURY TRIAL.” Id. The Retail Lease Order broadly defines the claims that

   are subject to arbitration as:

          Any claim or dispute, whether in contract, tort, statute or otherwise
          (including the interpretation and scope of this Arbitration Provision, and
          the arbitrability of the claim or dispute), between you and us or our
          employees, agents, successors, or assigns, which arises out of or relates to
          your credit application, purchase or condition of this Vehicle, this Order
          and Agreement or any resulting transaction or relationship (including any
          such relationship with third parties who do not sign this Order and
          Agreement) shall, at your or our election, be resolved by neutral, binding
          arbitration and not by a court action.

   Id.
           Next to Plaintiff’s signature on the Retail Lease Order is the acknowledgment that

   he has “read each page of this Order and Agreement, including the arbitration provision

   on the reverse side, and agree to its terms.” Id. at p. 16.

          Both Agreements are governed by the FAA. See, e.g., Epic Sys. Corp. v. Lewis, 138 S.

   Ct. 1612, 1621 (2018) (underscoring the FAA’s “emphatic directions” that arbitration

   agreements be enforced “according to their terms”) (internal quotations omitted); see also


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   John B. Goodman Ltd. P’ship v. THF Constr., Inc., 321 F.3d 1094, 1095 (11th Cir. 2003)

   (“Under the FAA . . . a district court must grant a motion to compel arbitration if it is

   satisfied that the parties actually agreed to arbitrate the dispute.”).

          b. Plaintiff’s opposition to Ford’s motion to compel arbitration

          In his opposition to Ford’s motion to compel arbitration [ECF No. 29], Plaintiff

   argues that the case should not be arbitrated and that he never agreed to arbitrate these

   claims against Ford. Plaintiff states that his lease and financing Agreements with the

   Dealer do not include Ford and have nothing to do with Ford’s concealment of or failure

   to notify owners and lessees of the unrepaired FSAs. He argues that Ford is not a

   signatory to either the Dealer’s MVLA or the Dealer’s Retail Lease Order and that Ford

   fails to demonstrate it is a third-party beneficiary of the Agreements.

          Moreover, Plaintiff argues that Ford does not establish that the equitable estoppel

   doctrine applies (to allow Ford to otherwise enforce the Arbitration Agreements) because

   Plaintiff’s claims against Ford do not rely on the Agreements and because Ford’s

   wrongful conduct is separate from any wrongful conduct by Dealer.

          c. Ford has demonstrated that it is entitled to enforce the arbitration provisions
             in the Agreements

          “In reviewing a motion to compel arbitration, a district court must consider three

   factors: (1) whether a valid written agreement to arbitrate exists, (2) whether an arbitrable

   issue exists, and (3) whether the right to arbitrate was waived.” Integrated Sec. Servs. v.

   Skidata, Inc., 609 F. Supp. 2d 1323, 1324 (S.D. Fla. 2009). Here, Ford argues that there are


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   valid arbitration Agreements, Ford is entitled to enforce the arbitration Agreements, the

   Agreements cover Plaintiff’s claims against Ford, and Ford has not waived its right to

   arbitrate.

          Under Florida law, the two Agreements at issue are binding agreements. When

   leasing his vehicle, Plaintiff signed both the MVLA and the Retail Lease Order, [ECF Nos.

   1 ¶ 34; 18-1 at 11, 16]. Plaintiff is therefore presumed to know the contents of both

   Agreements, including the arbitration provisions they contain. See Benoay v. E.F. Hutton

   & Co., Inc., 699 F. Supp. 1523, 1529 (S.D. Fla. 1988) (“A party who signs an instrument is

   presumed to know its contents.”); Falcon v. CarMax Auto Superstores, Inc., No. 18-20268-

   CV, 2018 WL 3699336, at *4 (S.D. Fla. May 18, 2018) (finding that plaintiffs who executed

   a motor vehicle sale contract could not avoid arbitration by alleging they did not read or

   understand the provision).

          Although Ford is not a signatory to the Agreements, courts recognize that, under

   a variety of circumstances, non-signatories may compel arbitration, including (1) based

   on the equitable estoppel doctrine and (2) when the non-signatory is referenced in, or is

   a third party beneficiary to, the agreement to arbitrate. See, e.g., Arthur Andersen LLP v.

   Carlisle, 556 U.S. 624, 631 (2009) (internal quotation and citation omitted) (“[T]raditional

   principles of state law allow a contract to be enforced by or against nonparties to the

   contract through . . . third party beneficiary theories. . . and estoppel.”).




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          A non-signatory may rely on equitable estoppel principles to compel a signatory

   to arbitrate a dispute in at least two circumstances: (1) when a plaintiff’s claims against

   the non-signatory are “‘inextricably intertwined’ with his claims against the contract

   signatory” and (2) “when the signatory’s claim against a non-signatory . . . ‘presumes the

   existence of the agreement.’” Gunson v. BMO Harris Bank, N.A., 43 F. Supp. 3d 1396, 1401,

   1403 (S.D. Fla. 2014).

          While Plaintiff recently dismissed the Dealer as a defendant in the case, the

   allegations in the complaint against the Dealer and Ford remain the same. As explained

   below, the Undersigned finds that equitable estoppel applies because Plaintiff’s claims

   flow from the two Agreements containing arbitration provisions. In his complaint,

   Plaintiff alleges that he leased a Ford vehicle from the Dealer pursuant to the Agreements.

   [ECF No. 1, ¶ 34]. Ford’s allegedly actionable conduct occurred when these Agreements

   were signed. See id. ¶¶ 1, 28, 53.

          Courts have allowed a non-signatory to compel arbitration where its potential

   liability derives from the signatory’s conduct and the claims against the non-signatory

   are based on the same operative facts and are inherently inseparable from the claims

   asserted against the signatory. See Wilhelm v. Thor Motor Coach, Inc., No. CV 17-1148, 2017

   WL 2426007, at *6 (E.D. La. June 5, 2017) (internal quotation and citation omitted) (“This

   Court previously explained that a non-signatory may compel arbitration and stay court

   proceedings when the non[-]signatory’s potential liability derives from the signatory’s



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   conduct, and the claims against the non-signatory are based on the same operative facts

   and are inherently inseparable from the claims asserted against the signatory. The idea is

   that litigation against the non-signatory would adversely affect the signatory’s right to

   arbitration.”); Precision Funding Grp., LLC v. Nat'l Fid. Mortg., No. CIV. 12-5054 RMB/JS,

   2013 WL 2404151, at *7 (D.N.J. May 31, 2013) (“[V]iability of [the plaintiff’s] claims against

   [the non-signatory] are exclusively based on the actions of” the signatory); Id. (“[C]ourts

   have bound a signatory to arbitrate with a non-signatory at the non-signatory’s insistence

   because of the close relationship between the entities involved, as well as the relationship

   of the alleged wrongs to the non-signatory's obligations and duties in the contract . . . and

   [the fact that] the claims were intimately founded in and intertwined with the underlying

   contract obligations.”); Johnston v. Arrow Fin. Servs., LLC, No. 06 C 0013, 2006 WL 2710663,

   at *4 (N.D. Ill. Sept. 15, 2006) (granting defendant’s motion to compel arbitration and

   staying the case where the plaintiff’s claim was “based on the conduct of . . . a signatory”).

          Ford falls within the scope of the arbitration provision in the MVLA. The MVLA

   provides for arbitration of: “Claims between you and us, our employees, agents,

   successors, assigns, subsidiaries, or affiliates.” [ECF No. 18-1, p. 11]. The word “us” is

   defined in the MVLA to include the “Finance Company.” Id. In this lease for Plaintiff’s

   vehicle, the Finance Company is “Ford Motor Credit Company.” Id. at p. 5. Ford Credit

   is an indirect, wholly owned subsidiary of Defendant Ford, and thus an affiliate of Ford.

   [ECF No. 25-1 ¶ 4]. Ford is the ultimate parent company of Ford Credit and this



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   relationship qualifies Ford as an “affiliate” under the MVLA. See Black’s Law Dictionary

   (10th ed. 2014) (defining the word “affiliate” as including “a subsidiary, parent, or sibling

   corporation”).

          The MVLA notified Plaintiff that the arbitration provision applied to affiliates of

   Ford Credit. The term “Finance Company” appears in the second full line of text of the

   arbitration provision and is defined as Ford Credit on the very first page of the MVLA.

   [ECF No. 18-1, pp. 5, 11]. Plaintiff does not provide sufficient reason for why the

   Undersigned should ignore the word “affiliates.”

          Moreover, parent companies have frequently compelled arbitration where the

   parent company did not sign the agreements but qualified as an “affiliate” referenced in

   the arbitration provisions. See, e.g., Gorny v. Wayfair Inc., No. 18 C 8259, 2019 WL 2409595,

   at *6 (N.D. Ill. June 7, 2019) (finding that “parent company” was included “in the

   arbitration clause” that applied to “affiliates”) (“Gorny argues that any arbitration

   agreement exists only between him and Wayfair LLC, and that Wayfair Inc., Wayfair

   LLC’s parent company, was not a party to the agreement. As a result, Gorny contends,

   his claims against Wayfair Inc. are not covered by the agreement to arbitrate. Wayfair

   counters that . . . Wayfair LLC included claims against its parent company in the

   arbitration clause by defining the clause as applying to all disputes with ‘Wayfair, its

   agents, employees, officers, directors, principals, successors, assigns, subsidiaries or

   affiliates . . . Wayfair is clearly correct. Wayfair Inc. is Wayfair LLC’s parent company and



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   is therefore covered by the arbitration agreement. It may thus enforce the arbitration

   provision in relation to the claims against it.”).

          The Gorny Court relied on the plain language of the arbitration provisions, without

   resorting to a third-party beneficiary analysis, granting the motion to compel arbitration

   by a non-signatory parent because the provision’s terms were “broad enough to capture

   the claims against” it as an affiliate. Id.

          Similarly, in Mounts v. Midland Funding LLC, the court granted defendant’s motion

   to compel arbitration, finding that, “under the plain terms of the agreements, plaintiffs

   agreed to submit any dispute against Midland Funding’s affiliates to arbitration.” 257 F.

   Supp. 3d 930, 940 (E.D. Tenn. 2017) (“In contrast, as defendants point out, Black’s Law

   Dictionary defines ‘affiliate’ as ‘[a] corporation that is related to another corporation by

   shareholdings or other means of control; a subsidiary, parent, or sibling corporation.’ . . .

   Based on this definition and the opinions of several other courts, it appears that Midland

   Credit qualifies as an affiliate of Midland Funding and may, therefore, enforce the

   arbitration agreements even if it is not a party to the agreements. . . . As such, the Court

   finds that, because Midland Credit is Midland Funding’s ‘affiliate,’ Midland Credit may

   properly invoke the arbitration provisions.”).

          Plaintiff seeks to distinguish these cases primarily because both a signatory and

   non-signatory were defendants. [ECF No. 29, p. 13]. Nevertheless, when this case was

   originally filed, Ford and the Dealer were both named parties. Even now, with the Dealer



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   dropped from the case, the Dealer’s alleged misconduct remains the foundation of

   Plaintiff’s claims against Ford.

          Further, in Mey v. DIRECTV, LLC, 971 F.3d 284, 289-90 (4th Cir. 2020), the Court

   allowed a non-signatory defendant to compel arbitration because the arbitration

   provision at issue explicitly referenced “affiliates” and the defendant was an affiliate of a

   signatory. Id. at *3-5 (vacating the district court’s order denying motion to compel

   arbitration and concluding that the term “affiliates” allowed the defendant to compel

   arbitration, even though it only became an affiliate “after the agreement was signed”).

   The Mey Court refused to restrict the ordinary meaning of the word “affiliates.” The court

   explained its reasoning:

          Mey next contends that, even if she consented to arbitration, she did not
          form an agreement to arbitrate with DIRECTV. . . DIRECTV asserts that it
          is currently an affiliate of AT & T Mobility, and was an affiliate at the time
          of the events underlying this dispute, therefore it is included in the
          arbitration agreement's references to ‘AT & T’ and ‘us.’ Mey responds that
          the term ‘affiliate’ should be limited to affiliates of AT & T Mobility existing
          at the time the arbitration agreement was executed. Because DIRECTV and
          AT & T Mobility became affiliated only after Mey agreed to arbitrate, she
          argues that the term cannot cover DIRECTV. As an initial matter, we
          conclude—as the district court appears to have acknowledged and Mey
          does not dispute—that DIRECTV is currently an affiliate of AT & T
          Mobility. The contract does not define the term ‘affiliate,’ so we look to its
          ordinary meaning . . . An affiliate is commonly understood as ‘a company
          effectively controlled by another or associated with others under common
          ownership or control.’ Affiliate, Webster’s Third New International
          Dictionary 35 (2002) . . . Since 2015, AT & T, Inc. has owned both AT & T
          Mobility and DIRECTV through other corporate entities, making them
          affiliates under common ownership or control. Although Mey considers the
          relationship attenuated, she does not contest that DIRECTV is currently an
          affiliate of AT & T Mobility and was an affiliate at the time of the underlying


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          events by virtue of their common ownership. Mey does not advance any
          reason we should restrict the ordinary meaning of ‘affiliates’ here, nor do
          we find any. The agreement contains no explicit limitation on the term.

   Id.

          Plaintiff tries to distinguish Mey on the basis that the decision depended on the

   particular relationship between the plaintiff and the non-signatory defendant; however,

   in Mey, the court allowed a non-signatory defendant to compel arbitration because the

   arbitration provision at issue explicitly referenced “affiliates,” and the defendant was an

   affiliate of a signatory.

          Moreover, whether because of the third-party beneficiary doctrine or otherwise,

   parent and affiliate companies can enforce arbitration agreements they did not sign

   where they fall within the scope of the provisions at issue. See Oravetz v. Halliburton Co.,

   No. 07-20285-CIV, 2007 WL 7067475, at *4 (S.D. Fla. July 24, 2007) (allowing parent

   company to invoke an arbitration provision that described it and other corporate affiliates

   as “third party beneficiaries”).

          The Undersigned finds that Plaintiff is incorrect that the MVLA must “mention”

   Ford by name. [ECF No. 29, p. 12]; Pleitez v. BMW of N. Am., LLC, No. CV 19-10422 PA

   (JCx), 2020 WL 2084954, at *3 (C.D. Cal. Feb. 27, 2020) (finding that reference to “affiliates”

   of an automotive finance company was sufficient); Id. (“As have other Courts in the

   Central District that have construed the arbitration provision’s extension to ‘affiliates’ of

   the signatories, this Court concludes that it is undisputed that BMW NA is an affiliate of



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   BMW FS, and as a result of it being an ‘affiliate,’ can enforce the arbitration provision as

   a third-party beneficiary.”).

          Courts have repeatedly allowed non-signatories to enforce arbitration provisions

   nearly identical to the MVLA’s provision. See, e.g., Brown v. Sklar-Markind, No. CIV.A. 14-

   0266, 2014 WL 5803135, at *1, *13 (W.D. Pa. Nov. 7, 2014) (granting motion to compel

   arbitration and finding that the “agreement is enforceable . . . as to claims involving” the

   signatories’ “affiliates”).

          In Brown, the arbitration provision in the sales contract at issue was broad and

   encompassing, covering “any Claim related to this contract” including but not limited to

   “Claims in contract, tort, regulatory or otherwise; . . . Claims between you and us,

   your/our employees, agents, successors, assigns, subsidiaries, or affiliates; [and] 4)

   Claims arising out of or relating to . . . this contract, or any resulting transaction or

   relationship, including that with the dealer, or any such relationship with third parties

   who do not sign this contract.” Id. at *1.

          The Brown Court found that even though Defendants were non-signatories to the

   sales contract, they were not prevented from enforcing the arbitration provision. The

   court reasoned that although plaintiff argued that defendants, as third-party non-

   signatories, cannot enforce the arbitration provision, the sales contract expressly provides

   otherwise, stating that it applies to “any resulting transaction or relationship, including




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   that with the dealer, or any result transaction with third parties who do not sign this

   contract.” Id.

          Additionally, the court found that the debt collection activity at issue in the case

   arose from and were dependent upon the sales contract containing the arbitration

   agreement. Id. at 13; see also Griswold v. Coventry First LLC, 762 F.3d 264, 272 (3d Cir. 2014)

   (“[C]ourts have bound a signatory to arbitrate with a non-signatory at the nonsignatory’s

   insistence because of the close relationship between the entities involved, as well as the

   relationship of the alleged wrongs to the non-signatory’s obligations and duties in the

   contract and the fact that the claims were intimately founded in and intertwined with the

   underlying contract obligations.”).

          “[C]laims against a nonsignatory to a contract containing an arbitration provision

   are founded on, and are intertwined with, the facts surrounding the underlying contract,

   (1) where the plaintiff asserts breach of duty imposed or entailed by that contract, or (2)

   where the plaintiff alleges conspiracy or agency between a nonsignatory and a signatory

   to a contract containing an arbitration clause.” See Montgomery Ford Lincoln Mercury, Inc.

   v. Hall, 999 So. 2d 964, 968, 971 (Ala. Civ. App. 2008) (finding arbitration agreement to be

   enforceable under doctrine of equitable estoppel, and explaining that “plaintiff may be

   compelled to arbitrate his or her claims against a nonsignatory to a contract containing

   an arbitration provision if the claims are founded on, and are intertwined with, the facts

   surrounding the underlying contract that contains the arbitration clause”).



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          The Undersigned finds that Ford, as a non-signatory to the Agreements which

   contain the arbitration provisions, has demonstrated that the facts alleged in the

   complaint are intertwined with the underlying Agreements between Plaintiff and the

   Dealer. The arbitration provisions in this case are broad, encompassing “[a]ny claim or

   dispute” arising out of or relating to the Agreements, as well as transactions or

   relationships “including any such relationship with third parties who do not sign” the

   Agreements. [ECF No. 18-1, pp. 11, 18]. Plaintiff’s claims are all predicated upon Ford’s

   alleged failure to ensure that its Dealers perform the required FSAs before leasing the

   vehicle the Plaintiff in accordance with the Agreements. Thus, all of Plaintiff’s claims arise

   out of or relate to the “purchase or condition of [Plaintiff’s] Vehicle” and fall within the

   arbitration provision.

          d. The cases cited by Plaintiff are distinguishable.

          Plaintiff cites to Vincent v. BMW of N. Am., No. CV 19-6439, 2019 U.S. Dist. LEXIS

   227679, at *16 (C.D. Cal. Nov. 26, 2019), where the Court declined to compel arbitration

   and held that “the fact that Plaintiff’s claims would not exist but for his purchase of the

   vehicle does not mean that his claims rely on the Purchase Agreement,” rather

   “Defendant’s relationship with Plaintiff was formed by virtue of Plaintiff’s purchase of

   the vehicle, not by virtue of any terms in the Purchase Agreement.” Nevertheless, Vincent

   is distinguishable from the instant case as the arbitration provision there did not include

   “affiliates” within its scope.



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             Likewise, in Schulz v. BMW of N. Am., LLC, No. 5:20-CV-01697-NC, 2020 WL

   4012745 (N.D. Cal. July 15, 2020), the Court rejected a similar equitable estoppel argument

   as Ford’s, holding that while “the provision encompasses disputes that arise out of or

   relate to the condition of the vehicle, it did not extend to disputes against third parties,

   especially because the signatories had to elect to exercise the right. Nevertheless, the

   Schulz Court recognized that courts have compelled arbitration “when the dealership

   assigns a lease to a financial service company affiliated with the manufacturer[,]” but

   explained that the specific provision in Schulz did not reference “affiliates.” Id. at *3 n.1.

             Plaintiff also cited to Jurosky v. BMW of N. Am., 441 F.Supp.3d 963 (S.D. Cal. 2020),

   where the court denied BMW’s motion to compel arbitration, holding that “[e]ven if

   Plaintiff’s complaint referenced the purchase agreement, in order to be intertwined with

   the purchase agreement, Plaintiff must allege a violation of a ‘duty, obligation, term or

   condition’ imposed by the purchase agreement.” Id. at 970. Ford points out that Jurosky’s

   arbitration provision does not contain the word “affiliates.” The arbitration agreement

   states:

             Any claim or dispute, whether in contract, tort, statute or otherwise
             (including the interpretation and scope of this Arbitration Provision, and
             the arbitrability of the claim or dispute), between you and us or our
             employees, agents, successors or assigns, which arises out of or relates to
             . . . purchase or condition of this vehicle, the contact [sic] or any resulting
             transaction or relationship (including any such relationship with third
             parties who do not sign this contract) shall, at your or our election, be
             resolved by neutral, binding arbitration and not by a court action.

   Id. at 967-68.


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          Jurosky was also distinguished in Rizvi v. BMW of N. Am. LLC, No. 5:20-CV-00229-

   EJD, 2020 WL 2992859, at *3 (N.D. Cal. June 4, 2020). In Rizvi (where the court granted

   defendant’s motion to compel arbitration), the court determined that defendant’s reliance

   on Jurosky was “misplaced.” Id. “Significantly, the arbitration provision in Jurosky and

   Vincent does not include within its scope ‘affiliates’ of the signatory dealer, whereas the

   arbitration provision in this case does. The inclusion of ‘affiliates’ means that the

   arbitration provision in this case is broader than the one in Jurosky and Vincent such that

   BMW NA may enforce the provision against Rizvi.” Id.

          Finally, Plaintiff’s citation to In re Ford Motor Co. DPS6 Powershift Transmission Prod.

   Liab. Litig. is also distinguishable. No. 18-ML-02814 AB (FFMx), 2020 WL 3637631, at *4-5

   (C.D. Cal. July 2, 2020). The Court in In re Ford Motor Co. denied defendant’s motion to

   compel arbitration, finding that there were “no allegations of evidence that the alleged

   agent – the Dealership – entered into the Lease on behalf of the alleged principal – Ford.”

   Id. This case is distinguishable because, in our case, Ford has argued that the claims at

   issue affected the purchase price set by the underlying Agreements containing the

   arbitration provisions.

   IV.    Conclusion

          The Undersigned finds that the Agreements’ arbitration provisions apply to

   Plaintiff’s claims against Ford. For the reasons described above, the Undersigned




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   respectfully recommends that Ford’s motion to compel arbitration be granted and the

   case be stayed pending the arbitration of the case.

   V.     Objections

          The parties will have fourteen (14) calendar days from the date of being served

   with a copy of this Report and Recommendations within which to file written objections,

   if any, with the District Judge. Each party may file a response to the other party’s objection

   within fourteen (14) calendar days of the objection. Failure to timely file objections shall

   bar the parties from a de novo determination by the District Judge of an issue covered in

   the Report and shall bar the parties from attacking on appeal unobjected-to factual and

   legal conclusions contained in this Report except upon grounds of plain error if necessary

   in the interest of justice. See 28 U.S.C. § 636(b)(1); Thomas v. Arn, 474 U.S. 140, 149 (1985);

   Henley v. Johnson, 885 F.2d 790, 794 (11th Cir. 1989); 11th Cir. R. 3-1 (2016).

          RESPECTFULLY RECOMMENDED in Chambers, in Miami, Florida, on January

   20, 2021.




   Copies furnished to:
   The Honorable Marcia G. Cooke
   All counsel of record




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